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U:S. Departinent of Justice PROCESS RECEIPT AND RETURN
United States Marshals Service See "Instructions for Service of Process by U.S. Marshal"
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PLAINTIFF COURT CASE NUMBER

diana alebond 8:20-cv-00052

DEFENDANT TYPE OF PROCESS

usps summons

 

 

NAME OF INDIVIDUAL, COMPANY, CORPORATION, ETC. TO SERVE OR DESCRIPTION OF PROPERTY TO SEIZE OR CONDEMN

SERVE us postal service
AT ADDRESS (Street or RFD, Apartmem No., City, State and ZIP Code)
washington dc
SEND NOTICE OF SERVICE COPY TO REQUESTER AT NAME AND ADDRESS BELOW Number of process to be 1
served with this Form 285

Number of parties to be 3
served in this case
Check for service
on U.S.A. y

SPECIAL INSTRUCTIONS OR OTHER INFORMATION THAT WILL ASSIST IN EXPEDITING SERVICE (Include Business and Alternate Addresses,
All Telephone Numbers, and Estimated Times Available for Service):

 

 

 

 

 

Signature of Attomey other Originator requesting service on behalf of: ( PLAINTIFF TELEPHONE NUMBER DATE
[] DEFENDANT

SPACE BELOW FOR USE OF U.S. MARSHAL ONLY - DO NOT WRITE BELOW THIS LINE

 

 

 

 

    
  
   

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

I acknowledge receipt for the total | Total Process | District of District to Signature of Authorized USMS Deputy or Clerk Date

number of process indicated. Origin Serve u

(Sign only for USM 285 if more . i Q

than one USM 285 is submitted) L/3 No. 18 No. mail — / ,

I hereby certify and return that} (_] have personally served , (} have legal evidence of servic have ex€cuted as shown in "Remarks", the process described on the

individual, company, corporation, etc., at the address shown above on the on the individual, com , corporation, etc, shown at the address inserted below.

(1) thereby certify and retum that 1 am unable to locate the individual, company, corporation, etc. named above (See remarks below)

Name and title of individual served (if not shown above) Date Time yr am
) Uz 2 ‘Oem

Address (coniplete only different than shown above) Signature of U.S. Marshal or Deputy

Service Fee Total Mileage Charges Forwarding Fee Total Charges Advance Deposits Amount bw to U.S. Marshal® or

including endeavors) (Amount of Refund*)
REMARKS

Cota

 

Form USM-285
PRIOR VERSIONS OF THIS FORM ARE OBSOLETE Rev. 11/18
